UNITED STATES BANKRUPTCY COURT FOR THE
EASTERN DISTRICT OF WISCONSIN

 

In re:
SCHUBKEGEL, TERRI, CASE NO.: 17-27107-KMP
CHAPTER 7

Debtor(s)

 

TRUSTEE'S STATEMENT OF ABANDONMENT

 

Pursuant to the Notice of Trustee’s Intent to Abandon Property of the Estate, which was duly
mailed to creditors and parties in interest, and no timely objections having been filed and sustained, the

trustee hereby abandons the Estate’s interest in the following property:

 

 

 

 

 

 

 

 

 

 

Debtor's
Scheduled
Item: Value:

9524 Camp Lake Rd, Salem, WI 53168-9302 $240,000.00
1998 Dodge Ram Pickup 1500 $2,000.00
2003 Dodge Caravan $3,000.00
Living Room Furniture, Dinette Set, Stove and Refrigerator, Washer $2.000,00
and Dryer, Bedroom Furniture, Tables and Lamps and Rugs _—
TVs, Computer, Cell Phones, $1,000.00
Necessary Clothing $500.00
Checking Account: PNC Checking and Savings; Chase Bank -- $5.000.00
Checking oo

 

 

 

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Debtor is 1/2 Owner of Home again Restaurant LLC. A restaurant.
Assets include: Equipment, Furniture, TVs, Total assets $20,000 $10,000.00
Liabilities-0-, 00% ownership

 

401(k) or Similar Plan: Debtor's account through work $500. NFS

account through Mundeline $260,000 $260,500.00

 

 

 

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Dated in Waterford, Wisconsin this 9" day of August, 2019.

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Pl
Michael F Dubis, Jrustee o

Michael F Dubis, Trustee

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